                                   Annex B

                              Enforcement Notice




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                                                  [Caption]

                              NOTICE OF BANKRUPTCY COURT ORDER


                    [Debtor Entity], by and through its undersigned counsel, respectfully submits this

Notice of Bankruptcy Court Order, and states as follows:


                    1.        On February 11, 2019 (the “Petition Date”), Ditech Holding Corporation

and its debtor affiliates, including [Debtor Entity] (collectively, the “Debtors”), filed voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the Southern District of New York (the “Bankruptcy Court”). The Debtors’ Chapter 11 cases

(the “Bankruptcy Cases”) are being jointly administered, indexed at case number 19-10412

(JLG).

                    2.        On September 26, 2019, the Bankruptcy Court entered its Order Confirming

Third Amended Joint Chapter 11 Plan of Ditech Holding Corporation and its Affiliated Debtors

(the “Confirmation Order”) (ECF No. 1404) approving the terms of the Chapter 11 plan, as

amended (the “Plan”). The effective date under the Plan occurred on September 30, 2019

(the “Effective Date”).

                    3.        The Plan contains injunction provisions which expressly provide that the

holders of all claims that arose prior to the Effective Date seeking monetary damages against the

Debtors (including attorney’s fees) are enjoined from “commencing, conducting or continuing in

any manner, directly or indirectly, any suit, action, or other proceeding of any kind…against or

affecting the Debtors” or their successors.

                    4.        On [Date], the Bankruptcy Court entered the attached Order Granting Plan

Administrator’s Third Omnibus Motion To Enforce Injunctive Provisions Of Plan And

Confirmation Order which (i) bars [Litigation Party] from continuing to maintain and prosecute



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monetary claims for damages against [Debtors] under the injunction provisions of the Plan and

Confirmation Order, and (ii) permits the Debtors to seek sanctions in the event [Litigation Party]

continues in its refusal to dismiss monetary claims.

                              Respectfully submitted this     day of       , 2020.




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